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                  IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF NEW JERSEY



  IN RE: JOHNSON & JOHNSON TALCUM
  POWER PRODUCTS MARKETING, SALES
                                                         No. 3:16-md-02738-MAS-RLS
  PRACTICES, AND PRODUCTS LIABILITY
  LITIGATION



               DEFENDANTS’ NOTICE OF MOTION FOR
                 LITIGATION FINANCE DISCOVERY
        AND TO COMPEL COMPLIANCE WITH LOCAL RULE 7.1.1


      PLEASE TAKE NOTICE that on a date to be determined by the Court, the

undersigned counsel will bring Defendants Johnson & Johnson and LLT Management

LLC’s Motion For Litigation Finance Discovery And To Compel Compliance With

Local Rule 7.1.1 before this Court. Defendants will ask for entry of an order permitting

the document requests and requiring Beasley Allen to file a statement disclosing the

information required under Local Rule 7.1.1.

      PLEASE TAKE FURTHER NOTICE that in support of their motion,

Defendants shall rely upon the Brief submitted herewith and the Declaration of

Matthew L. Bush, Esq., together with exhibits, and the arguments and evidence

submitted in the original briefing in connection with this litigation finance discovery

dispute (See ECF Nos. 32827, 32845, 32987, 33085, 33171, 33306); and
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      PLEASE TAKE FURTHER NOTICE that a proposed Order is submitted

herewith; and

      PLEASE TAKE FURTHER NOTICE that oral argument is requested.


  Dated: May 12, 2025                  Respectfully submitted,

                                       /s/ Kristen R. Fournier
                                       Kristen R. Fournier
                                       Matthew L. Bush
                                       KING & SPALDING LLP
                                       1185 Avenue of the Americas
                                       34th Floor
                                       New York, NY 10036
                                       (212) 556-2100
                                       kfournier@kslaw.com

                                        /s/ Jessica L. Brennan
                                       Jessica L. Brennan
                                       BARNES & THORNBURG LLP
                                       67 E. Park Place, Suite 1000
                                       Morristown, NJ 07960
                                       Tel.: 973-775-6120
                                       jessica.brennan@btlaw.com


                                       Attorneys for Defendants Johnson &
                                       Johnson and LLT Management, LLC
                                       (Predecessor to Red River Talc LLC)
